             Case 1:21-cr-00687-RC Document 84 Filed 02/02/23 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
        v.                                         :       Criminal Action No.: 21-0687 (RC)
                                                   :
DAVID CHARLES RHINE,                               :
                                                   :
        Defendant.                                 :
                                                   :

                                              ORDER

        The Government plans to introduce open-source video and photographic evidence at trial.

On February 1, 2023, the Court held an evidentiary hearing to determine the authenticity of this

evidence. Authentication is a “specialized aspect[] of relevancy” that is a “necessary condition[]

precedent to admissibility.” United States v. Rembert, 863 F.2d 1023, 1027 (D.C. Cir. 1988)

(quotation omitted). Generally, to authenticate a piece of evidence, “the proponent must produce

evidence sufficient to support a finding that the item is what the proponent claims it is.” Fed. R.

Evid. 901(a). This can be accomplished through witness testimony, by expert comparison to

authenticated evidence, or by proof of the evidence’s “distinctive characteristics, taken together

with all the circumstances,” among other ways. Id. 901(b)(1), (b)(3)–(4). “[T]he question is not

whether the government conclusively prove[s] . . . authenticity;” rather, it is sufficient if “the

government's showing ‘permit[s] a reasonable juror to find that the evidence is what its

proponent claims.’” United States v. Khatallah, 41 F.4th 608, 623 (D.C. Cir. 2022) (quoting

United States v. Blackwell, 694 F.2d 1325, 1330 (D.C. Cir. 1982)); see also United States v.

Bruner, 657 F.2d 1278, 1284 (D.C. Cir. 1981) (“[C]ircumstantial evidence of authenticity can be

sufficient.”).
           Case 1:21-cr-00687-RC Document 84 Filed 02/02/23 Page 2 of 3




       Based upon the testimony and video and photograph comparisons presented by the

Government during the February 1 hearing, and the Court’s own comparison of the various video

and photographic evidence, the Court finds that the Government has sufficiently authenticated

the portions of Government Exhibits 115, 116, 117, 118, 119, and 120 that were identified during

the hearing. Each of these open-source photographs or videos was corroborated by reference to

U.S. Capitol Police (“USCP”) CCTV footage and still-images showing the same scenes from

different angles. Both the open-source and CCTV materials show an individual that the

Government alleges is Defendant wearing a dark hooded jacket and red hat with white letters

spelling “USA” on the front and carrying a dark backpack and a distinctive large blue flag with

white stars on it. In addition to these distinctive features, the materials depict other individuals

who, due to their clothing, positioning, or actions, also provide points of reference that allow

alignment of the open-source material and the CCTV material. Moreover, the Government’s

witness, a USCP Inspector who testified that he has intimate knowledge of the Capitol grounds

based on his years of service, confirmed certain landmarks, such as a door leading to the House

chamber directly across from the Upper House Door, that provide additional points of cross-

reference between the open-source material and the CCTV material. Taken together, the Court

finds that the Government’s authentication is sufficient.

       Regarding Government’s Exhibit 115, the Government indicated that it plans to present a

section of this video showing an interview that Defendant allegedly gave at the top of the

outdoor staircase on the southeast front of the Capitol. Defendant pointed out, and the Court

agrees, that this section of the video contains a cut at runtime 5:33. Defendant objects that

presentation of an edited sequence of footage would risk undue prejudice because having

multiple clips spliced together could create a misleading impression of what Defendant said.



                                                  2
          Case 1:21-cr-00687-RC Document 84 Filed 02/02/23 Page 3 of 3




Sensitive to this concern, the Court adopts the approach taken by Chief Judge Howell in United

States v. Williams, No. 21-cr-0377, another January 6 case involving a similar issue. Faced with

the defendant’s objection to an edited open-source video, Chief Judge Howell adopted the

Government’s suggestion to play only an unedited sequence of the video. See Min. Order,

Williams, No. 21-cr-0377 (D.D.C. June 8, 2022). The Court will follow the same approach here,

and accordingly will adopt the Government’s suggestion at the February 1 hearing that it be

permitted to introduce only unedited sequences from the interview. That is, the Government

may introduce the sequence of video from the beginning of the interview at runtime 5:02 until

the cut at 5:33, and then the separate sequence from 5:33 until the end of the interview at 5:46,

but the Government may not play it straight through from 5:02 to 5:46. Without “any reason to

suspect the videographer of having either the motive or the skills to materially change the

underlying video content shown,” the Court finds that the Government’s authentication evidence

is sufficient as to the unedited sequences of video. Id.

       SO ORDERED.


Dated: February 2, 2023                                            RUDOLPH CONTRERAS
                                                                   United States District Judge




                                                 3
